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    16                         UNITED STATES DISTRICT COURT

    17          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

    18   Jenny Lisette Flores, Dominga           Case No. CV85-4544-DMG (AGRx)
         Hernandez-Hernandez, Alma Yanira
    19   Cruz, Sergio Hernandez-Perez,           NOTICE OF CROSS-APPEAL
    20
                         Plaintiffs,
    21
               v.
    22
         Jefferson B. Sessions, Attorney
    23
         General, et al.,
    24
                         Defendants.
    25
    26
    27
    28
Case 2:85-cv-04544-DMG-AGR Document 496 Filed 10/10/18 Page 2 of 3 Page ID #:24765



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                                                1                   NOTICE OF CROSS-APPEAL
                                                                    NO. CV 85-4544-DMG
Case 2:85-cv-04544-DMG-AGR Document 496 Filed 10/10/18 Page 3 of 3 Page ID #:24766



     1          NOTICE IS HEREBY GIVEN that Plaintiffs cross-appeal to the Court of Appeals
     2   for the Ninth Circuit from the order entered in this action on July 30, 2018 (ECF
     3   470), to the extent it denies Plaintiffs’ motion to enforce (ECF 409) the settlement
     4   filed herein on January 17, 1997.
     5          Plaintiffs Jenny Lisette Flores, Dominga Hernandez-Hernandez, Alma
     6   Yanira Cruz, and Sergio Hernandez-Perez brings this appeal as representatives of
     7   the certified plaintiff class.
     8    Dated: October 10, 2018.                 CARLOS R. HOLGUÍN
     9                                             PETER A. SCHEY
                                                   Center for Human Rights &
    10                                             Constitutional Law
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                                                   LEECIA WELCH
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                                                    Carlos Holguín
    18                                              Carlos Holguín
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                                                   2                         NOTICE OF CROSS-APPEAL
                                                                             NO. CV 85-4544-DMG
